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                      Exhibit A

The following exhibit is a text message exchange between Richard Hamilton and Kirk
Beebe that mentions “Melynk,” a reference to attorney Richard Melnyk, who has
represented Flannery Associates LLC in its negotiations with landowners, including
with the Conspirators. In emails and other correspondence, the Conspirators sometimes
used “Melnyk” or “Melynk” interchangeably with Flannery.
 Case 2:23-cv-00927-TLN-AC Document 1-1 Filed 05/18/23 Page 2 of 11
                       Attorney Client Privilege




351




                              Rich
                         es
                         kj      \,„.




Melynk is bullying the last
of the property owners.

In talking with Ian
Anderson, he agrees that
the remaining property
owners should be in
agreement on what we
would want to sell our
properties. So Melynk
cannot play owners
against owners.

I think we should have a
                                                                  Defendants003955
                Case 2:23-cv-00927-TLN-AC Document 1-1 Filed 05/18/23 Page 3 of 11
          meeting in the next two
          weeks to talk about
          Flannery.
                                          ' •
                                                          \ •     •kk.,                                                                    s`•   \




                                                                                                              „
                                      •   •           •          sl, ,..\ \ S \   \ ., ;`.4ft.   .\\\ xy a,        \    •   '   k: "

                                              „„\\„             „.L
                                                                \          , ..„\\••„•„                           ,\•                  •
                                                                                                                                                      •• •




                         A\       4iCash




Sent from my !Phone




                                                                                                                                                     Defendants003956
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                   Exhibit B
                    Case 2:23-cv-00927-TLN-AC Document 1-1 Filed 05/18/23 Page 5 of 11
From: Christine Mahoney <christine@emighlivestock.com>
                          <christine@emighlivestock.com>
Sent: Monday,
Sent: Monday, July
               July 25, 2022 2:05 PM EDT
To: Beebe, Kirk @ Walnut Creek
                          Creek <Kirk.Beebe@cbre.com>
                                  <Kirk.Beebe@cbre.com>
Subject: Flannery map
Subject:

External



 FyI
 Fyl
 you may
 you   may already
            already have
                    have this
      from last
 It's from last year
                year so
                     so I'm
                        I'm sure
                            sure there
                                 there is
                                       is more
                                          more to
                                               to add
                                                  add
II heard
   heard you
          you talked
               talked with Hamiltons, That's
                      with Hamiltons, That's great
                                             great that
                                                   that we
                                                        we can support each
                                                           can support each other!
                                                                            other!
 Thanks
 Thanks
 Christine
 --
 Christine Mahoney
 Christine   Mahoney
(707) 374-5585
(707) 374-5585 office
               office
(707) 688-7844
(707) 688-7844 cell
               cell
Case 2:23-cv-00927-TLN-AC Document 1-1 Filed 05/18/23 Page 6 of 11




                   Exhibit C
From: SusanCase   2:23-cv-00927-TLN-AC
              Furay <sfuray@comcast.net>          Document 1-1 Filed 05/18/23 Page 7 of 11
Sent: Monday, August 08, 2022 1:01 PM PDT
To: Tal Mcquary <talmcquary@yahoo.com>
CC: millersorggroup@sbcglobal.net <millersorggroup@sbcglobal.net>; Dawn Rhoades <dawn@rhoades.us>; Heather
Graves <rayheather@sbcglobal.net>; Kirk Beebe <kirk.beebe@cbre.com>
Subject: Re: Fannery on Creed Rd.
Hi Tal,
We sent you all a map outlining all their purchases from Travis Air Force base to the Sacramento River in rio vista. Their
hyper aggressive behavior seems to indicate that we are in a very good position and it is best not to engage with them at
this point. No one is suggesting that we don't sell, the question is when and at what price. Several of the other major land
owners in the area are basically taking their time as well and not engaging with Flannery.
Please let me know if you want me to resend the map.


Thank you,

Susan
925-451-1508
Sent from my iPhone


     On Aug 8, 2022, at 12:52 PM, Tal Mcquary <talmcquary@yahoo.com> wrote:



     FYI—In addition to owning the adjacent ranch to the Barnes Ranch. Fannery has bought 14 ranches, north and south of
     Creed Rd. [north of the Barnes], totaling 6,038 acres.

     Sent from Mail for Windows




                                                                                                               Defendants009080
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                   Exhibit D
                        Case 2:23-cv-00927-TLN-AC Document 1-1 Filed 05/18/23 Page 9 of 11
From:                 Douglas Youmans [dyoumans@wkblaw.comj
Sent:                 8/8/2022 10:26:17 AM
To:                   Richard Melnyk [rich@custermelnyk.com]
CC:                   ianandersonranch@gmail.com; ianandmargareta@gmail.com
Subject:              key terms
Attachments:          image119836.gif; image375448.png; image507718.png; image653529.png


rich:
the andersons have advised me that they are not interested in continuing negotiations at this point. 1assume they will
be back in touch if/when they are interested in resuming negotiations (they have not offered any indication of if or when
that might occur).

thanks for your time and patience.

doug
                                                                                               Douglas Youmans
                                                                                               Attorney at Law

                OM MO                                                                          Wagner Kirkman Blaine Klomparens & Youmans LIP

                                                                                               t: (916) 920-5286
                MI ME                                                                          e: dyoumans@wkblaw.com w: www.wkblaw.com
    Ws.
                 WKBKaiY
                trX re R..0   .are ./.3, RA'. <NSW $4.2     fs.*."0......A. Of.   caac wax,.
                                                                                               a:10640 Mather Blvd., Suite 200
                                    Auttararsayass        wt 6dasa.                               Mather, CA 95655




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5286.
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                    Exhibit E
          Case
From: Beebe,   Kirk2:23-cv-00927-TLN-AC         Document 1-1
                    @ Walnut Creek <Kirk.Beebe@cbre.com>                                   Filed 05/18/23 Page 11 of 11
Sent: Friday, June 03, 2022 7:02 PM PDT
To: Susan Furay <sfuray@comcast.net>
Subject: Re: LLC Family Update 6/1/2022
I hope she holds hers until we sell.

Sent from my iPhone

> On Jun 3, 2022, at 6:47 PM, Susan Furay <sfuray@comcast.net> wrote:

> External



> Don't hold your breath!

> Susan
> 925-451-1508
> Sent from my iPhone

» On Jun 3, 2022, at 6:40 PM, Beebe, Kirk @ Walnut Creek <Kirk.Beebe@cbre.com> wrote:
>>

>> Nice to see they appreciate our work. Wonder when we will get a note from gassy bitch Leslie or her sister. Lol

>> Sent from my iPhone
>>
>>>> On Jun 3, 2022, at 5:33 PM, Susan furay <sfuray@comcast.net> wrote:




>>> Thank you Heather!
>>>
>>>>> On Jun 1, 2022, at 5:53 PM, Heather Graves <rayheather@sbcglobal.net> wrote:
>>»
>>>> Susan and Kirk,
>>» Thank you for the update and for always keeping us informed and keeping the family's best interest foremost' You guys are great! I really
appreciate all the work you both do.
>>>> Heather Graves
>>>>

>>>> Sent from my iPhone
>>»
>>>>>> On Jun 1, 2022, at 5:07 PM, Susan furay <sfuray@comcast.net> wrote:
>>>»
>>>>> Dear Family Member,
>>>»
>>>>> You will be receiving a check in the next few days that represents the gas through -put payment from Lodi Holdings LLC for calendar year 2021.
This payment is 46% larger than the payment you received last year for 2020. Natural Gas prices continue to rise and supply is more limited than has
been seen in many years. Based on the futures markets it appears that there is little that will cause downward prices on natural gas. We are hopeful that
this translates into increased demand for natural gas storage over the coming months.
>>>»
>>>>> As always, should you have any questions or concerns please shoot us a note or call Kirk on his cell at 925-984-6138.
>>>»
>>>» We hope everyone has a nice summer and is able to get out and about.
>>>»
>>>>> Best Regards,
>>>» Kirk & Susan




                                                                                                                                       Defendants009808
